         Democractic Executive Committee et al., v. Detzner
        United States District Court Northern District of Florida
                       Case No. 4:18cv520‐MW/MJF
                            Last updated 12/7/2018 8 AM



                       Cured Vote‐by‐Mail Ballots Post
Count   County              Federal Court Order        Response by
  1     Alachua                      7                 Email
  1     Baker                         0                Email
  1     Bay                          1                 Email
  1     Bradford                     0                 Email
  1     Brevard                      12                Email
  1     Broward                      27                Email
  1     Calhoun                      0                 Email
  1     Charlotte                    6                 Email
  1     Citrus                       0                 Email
  1     Clay                         8                 Email
  1     Collier                      3                 Email
  1     Columbia                     1                 Email
  1     DeSoto                       0                 Email
  1     Dixie                        2                 Email
  1     Duval                        49                Email
  1     Escambia                     7                 Email
  1     Flagler                      3                 Email
  1     Franklin                     0                 Email
  1     Gadsden                      0                 Email
  1     Gilchrist                    0                 Email
  1     Glades                       0                 Email
  1     Gulf                         0                 Email
  1     Hamilton                     2                 Email
  1     Hardee                        1                Email
  1     Hendry                       4                 Email
  1     Hernando                     3                 Email
  1     Highlands                    3                 Email
  1     Hillsborough                 73                Email
  1     Holmes                       1                 Email
  1     Indian River                 1                 Email
  1     Jackson                      1                 Email
  1     Jefferson                    0                 Email
  1     Lafayette                    0                 Email
  1     Lake                         59                Email
  1     Lee                          3                 Email
  1     Leon                         10                Email
  1     Levy                          1                Email
  1     Liberty                      0                 Email
  1     Madison                      2                 Email
  1     Manatee                      17                Email
  1     Marion                       0                 Email
  1     Martin                       1                 Email
  1     Miami‐Dade                   6                 Email
  1     Monroe                       7                 Email
  1     Nassau                       0                 Email
  1     Okaloosa                     5                 Email
  1     Okeechobee                    4                Email
  1     Orange                       61                Email
  1     Osceola                      2                 Email
  1     Palm Beach                  150                Email
  1     Pasco                        3                 Email
  1     Pinellas                     3                 Email
  1     Polk                         9                 Email
  1     Putnam                       0                 Email
  1     St. Johns                    10                Email
  1     St. Lucie                    4                 Email
  1     Santa Rosa                   10                Email
  1     Sarasota                     17                Email
  1     Seminole                     9                 Email
  1     Sumter                       13                Email
  1     Suwannee                     0                 Email
  1     Taylor                       0                 Email
  1     Union                        2                 Email
  1     Volusia                      11                Email
  1     Wakulla                      2                 Email
  1     Walton                       1                 Email
  1     Washington                   0                 Email
 67                                 637
